         Case 19-15200-elf         Doc 36 Filed 11/10/20 Entered 11/10/20 13:24:13                             Desc order
                                         of non-compliance Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                            : Chapter 13


Joseph A Marko and Carrie Marko                                   : Case No. 19−15200−elf
              Debtor

                                                             ORDER

     AND NOW, this day 10th November 2020 , this Court having implemented its electronic filing system on April
1, 2003 pursuant to Standing Order;



     And on October 19, 2004 an amendment of the Standing Order providing that as of January 15, 2005 all
attorneys shall file all documents electronically unless a prior waiver or extension of the mandatory electronic filing
deadline has been secured;¹
     And it appearing that a document styled " Motion for Relief filed by Carrie Marko " has not been filed
electronically and no waiver or extension of the electronic filing requirement has been secured;

   And such non−complying document has been noted on the docket of this Court but has not been filed in the
Court's electronic data base;

   It is hereby ORDERED that no judicial action shall be taken in connection with a non−complying document and
any filing fee accompanying such non−complying document will be contemporaneously returned;


     And it is further ORDERED that the non−complying document will be stricken from the docket unless within
fourteen (14) days the document and applicable filing fee are submitted in compliance with the Standing Order of
this Court.


_________________________________________________
 ¹ On December 1, 2003 an amendment of the Standing Order required that any attorney who was not filing electronically file any
paper document accompanied by a disc in PDF format and that the failure to do so would result in the striking of such document from
the court record upon notice and opportunity to cure. As of that date the Court's document data base has been maintained
electronically.

                                                                  By The Court

                                                                  Eric L. Frank
                                                                  Judge , United States Bankruptcy Court
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                                                                                                                             Form 200
